Case 1:08-cr-21158-RNS Document 752 Entered on FLSD Docket 10/17/2012 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 08-cr-21158-RNS


  UNITED STATES OF AMERICA,

  vs.

  JOEL STEINGER, et al.,

        Defendants.
  _____________________________________/

              FINAL ORDER ON MICHAEL STEINGER’S MOTION TO SET
            ASIDE FORFEITURE OF JOEL STEINGER’S APPEARANCE BOND

         THIS MATTER is before the Court on Michael Steinger’s Motion to Set Aside the
  Revocation, Estreature and Forfeiture of Joel Steinger’s $500,000 Ten Percent Deposit Bond and
  to Nullify the Final Judgment of Forfeiture of the Ten Percent Bond and the $50,000 Deposit
  [ECF No. 713]. For the reasons stated below, this Motion is granted.
                                             Introduction
         Third-party Michael Steinger, son of Defendant Joel Steinger, moves pursuant to Federal
  Rule of Criminal Procedure 46, to set aside the forfeiture of Defendant’s ten percent appearance
  bond and the $50,000 posted in the Court Registry. In short, Michael Steinger seeks the return of
  the $50,000 he deposited with the Court on the Defendant’s appearance bond that was forfeited
  after Defendant violated the law. Michael Steinger was not a surety and did not sign onto, and
  agree to be bound by, all the conditions of Defendant’s bond.
         The Court held a hearing on this Motion on September 6, 2012, at which time it received
  argument from Michael Steinger, through counsel, and the Government. The Court thereafter
  entered a Non-Final Order [ECF No. 734] finding that Michael Steinger had standing to obtain
  an Order setting aside the forfeiture. The Court agreed with the Government, however, that
  insufficient evidence existed in the record to definitely know whether the $50,000 at issue
  “belonged to” Michael Steinger, or whether it was merely “posted by” him. The distinction is
  important because if the money was his father’s and not his, then he would not be entitled to its
  return. The Court therefore tasked Michael Steinger with demonstrating the money was his and
  not his father’s. If he could do so, the Court indicated that it would enter an Order setting aside
  the forfeiture and requiring the return of the $50,000.
Case 1:08-cr-21158-RNS Document 752 Entered on FLSD Docket 10/17/2012 Page 2 of 2


          By phone call to Chambers on October 17, 2012, and by Notice [ECF No. 751] filed on
  the record that same day, the Government has indicated that it received and reviewed
  documentation from Michael Steinger and that there is no need for further hearing as to whether
  the funds belong to him.            The Government represents that it “is not seeking further
  documentation from Michael Steinger.” Notice at 1.
                                             Legal Standard
          Federal Rule of Criminal Procedure 46(f)(2) permits the Court to set aside a bond
  forfeiture, if the Court determines that justice does not require such forfeiture. See United States
  v. Gonzalez, 2011 WL 4537132, at *1 (11th Cir. Oct. 3, 2011) (district court has “virtually
  unbridled discretion” in dealing with matters of bond forfeiture under Fed. R. Crim. P. 46(f)(2)
  and (f)(4)); United States v. Diaz, 811 F.2d 1412, 1415 (11th Cir. 1987) (“district judge [has]
  virtually unbridled discretion in granting motions to remit bond forfeiture,” and “[h]is decision
  may only be overturned upon a finding of arbitrary and capricious abuse of discretion”).
                                               Discussion
           The Government has indicated its satisfaction with the documentation Michael Steinger
  provided. As such, the Government is no longer contesting that the funds belong to Michael
  Steinger. Therefore, consistent with the Court’s prior Order, Michael Steinger is entitled to have
  the forfeiture set aside and to receive a return of the $50,000 at issue.
                                               Conclusion
          Accordingly, it is hereby ORDERED and ADJUDGED as follows:
          1.       Michael Steinger’s Motion to Set Aside the Revocation, Estreature and Forfeiture
  of Joel Steinger’s $500,000 Ten Percent Deposit Bond and to Nullify the Final Judgment of
  Forfeiture of the Ten Percent Bond and the $50,000 Deposit [ECF No. 713] is GRANTED to the
  extent it is seeking return of the $50,000 deposit to Michael Steinger. The forfeiture of the funds
  in question is therefore SET ASIDE. The Clerk is directed to return the $50,000 at issue, plus
  any accrued interest, to Michael Steinger, forthwith. The forfeiture of the $500,000 bond as to
  Joel Steinger remains in place.
          2.       In light of this Order, the hearing set for October 18, 2012 at 9 a.m. to present
  evidence bearing of the source of the $50,000 is now CANCELLED.

           DONE and ORDERED in chambers, at Miami, Florida, on October 17, 2012.


                                                         ___________________________________
  Copies to:                                             ROBERT N. SCOLA, JR.
  Counsel of Record;                                     UNITED STATES DISTRICT JUDGE
  Counsel for Michael Steinger ;
  Clerk’s Office, Financial Section
